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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS


PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                                                        Case No: 1:21-cv-11530-ADB
                                 Plaintiff,

                       v.
                                                         NOTICE OF APPEAL
ZURICH AMERICAN INSURANCE
COMPANY,

                                 Defendant.


       Notice is hereby given that President and Fellows of Harvard College (“Harvard”), the

Plaintiff in the above-captioned matter, hereby appeals to the United States Court of Appeals for

the First Circuit from the Memorandum and Order granting Defendant Zurich American

Insurance Company’s motion for summary judgment, entered on November 2, 2022 (Dkt. #55),

the Electronic Order denying Harvard’s discovery-related motions, entered on November 2, 2022

(Dkt. #58) and the Order of Dismissal entered on November 2, 2022 (Dkt. #57).

                                              Respectfully submitted,

Dated: November 29, 2022                      ANDERSON KILL P.C.

                                              By: /s/ Marshall Gilinsky
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                                                 Harvard College
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                                CERTIFICATE OF SERVICE

        I hereby certify that copies of the foregoing Notice of Appeal were served on all counsel
of record by filing the document with the Court’s ECF system on November 29, 2022, by
operation of which all counsel were served electronically.



                                             _/s/ Marshall Gilinsky____
                                                  Marshall Gilinsky




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